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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re:                                                         ) Chapter 11
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor. 1                   )
                                                               )

                                      CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                       )
                                              )
    COUNTY OF LOS ANGELES                     )


         I, Janice G. Washington, am over the age of eighteen years, am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100

Santa Monica Blvd., Suite 1300, Los Angeles, CA 90067.

         On September 22, 2023, I caused a true and correct copy of the following documents to

be served via the Court’s ECF system.

         On September 22, 2023, I caused a true and correct copy of the following documents to

be served via electronic mail upon the parties set forth on the service list annexed hereto as Exhibit

A.

         On September 22, 2023, I also caused a true and correct copy of the following documents

to be served via First Class US Mail upon the parties set forth on the service list annexed hereto as

Exhibit B:




1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.


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   THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ REPLY IN
    SUPPORT OF MOTION FOR AN ORDER GRANTING LEAVE, STANDING, AND
    AUTHORITY TO PROSECUTE A CAUSE OF ACTION ON BEHALF OF THE
    DEBTOR AND ITS ESTATE [DOCKET NO. 2510]

        I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.

Dated: September 22, 2023



                                                      /s/ Janice G. Washington
                                                         Janice G. Washington




                                                 2
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                                        EXHIBIT A
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 FOR THE SOUTHERN
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EXHIBIT B

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